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                                                                                            FILED
                                                                                         APR 2 8 2021
                                UNITED STATES DISTRICT COURT                           U.S. DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI                         EASTERN DISTRICT OF MO
                                                                                             ST. LOUIS
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
           Plaintiff,                                )
                                                     )
V.                                                   )   No. Sl-4:19-cr-00770-HEA
                                                     )
ANTHONY LEMICY,                                      )
                                                     )
           Defendant.                                )

                                               SUPERSEDING
                                               INDICTMENT

                                                 COUNT!

     The Grand Jury charges that:

     At all times pertinent to the charges in this indictment:

     1.     Federal law defined the term:

            (a)         "minor" to mean any person under the age of eighteen years (18 U.S.C.

                        Section 2256(a));

            (b)         "sexually explicit conduct" to mean actual or simulated

                        (i)      sexual intercourse, including genital-genital, oral-genital, anal-

                                 genital, or oral-anal, whether between persons of the same or

                                 opposite sex,

                        (ii)     bestiality,

                        (iii)    masturbation,

                        (iv)     sadistic or masochistic abuse, or

                        (v)      lascivious exhibition of the genitals or pubic area of any person (18

                                 U.S.C. Section 2256(2)(A)); and
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               (c)       "computer" to mean an electronic, magnetic, optical, electrochemical or

                         other high speed data processing device performing logical, arithmetic or

                         storage functions, including any data storage facility or communications

                         facility directly related to or operating in conjunction with such device.

                         (18 U.S.C. Section 2256(6));

               (d)       "child pornography" to mean any visual depiction, including any

                         photograph, film, video, picture, or computer or computer-generated

                         image or picture, whether made or produced by electronic, mechanical, or

                         other means, of sexually explicit conduct, where--

                         (A)    the production of such visual depiction involves the use of a minor

                                engaging in sexually explicit conduct; or

                         (C)     such visual depiction has been created, adapted, or modified to

                                appear that an identifiable minor is engaging in sexually explicit

                                conduct.

        2.     The "Internet" was, and is, a computer communications network using interstate

and foreign lines to transmit data streams, including data streams used to store, transfer and

receive graphic files.

        3.      Between on or about July 16, 2019, and on or about July 26,2019, in the Eastern

District of Missouri, and elsewhere,

                                       ANTHONY LEM ICY,

the Defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce minors,

M.R. and K.C., to engage in sexually explicit conduct, specifically, Anthony Lemicy produced

videos ofM.R. and K.C. in a lascivious display of their genitals, and said sexually explicit


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conduct was for the purpose of producing a visual depiction of such conduct, to wit: a video of

M.R. and K.C. in a lascivious display of their genitals, and such depictions were produced using

materials that had been mailed, shipped, or transported in interstate and foreign commerce, i.e., a

cell phone.

In violation of Title 18, United States Code, Section 225l(a) and punishable under Title 18,

United States Code, Section 225l(e).

                                          COUNT TWO

       The Grand Jury further charges that:

       1.      The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth herein.

       2.      Between on or about January 1, 2019, and on or about July 26, 2019, in the Eastern

District of Missouri, and elsewhere,

                                       ANTHONY LEMICY,

the Defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce minor,

L.R., to engage in sexually explicit conduct, specifically, Anthony Lemicy produced a video of

himself using his penis to touch the genitals ofL.R., and said sexually explicit conduct was for

the purpose of producing a visual depiction of such conduct, to wit: a video of a penis touching

L.R. 's genitals, and such depiction was produced using materials that had been mailed, shipped,

or transported in interstate and foreign commerce, i.e., a cell phone.

In violation of Title 18, United States Code, Section 2251 (a) and punishable under Title 18,

United States Code, Section 225l{e).

                                         COUNT THREE

       The Grand Jury further charges that:



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        I.     The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth herein.

       2.      Between on or about January I, 2019, and on or about July 26, 2019, in the Eastern

District of Missouri, and elsewhere,


                                       ANTHONY LEMICY,

the Defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce minor,

L.R., to engage in sexually explicit conduct, specifically, Anthony Lemicy produced a video of

himself attempting to penetrate the anus of L.R., and said sexually explicit conduct was for the

purpose of producing a visual depiction of such conduct, to wit: a video of a himself attempting

to penetrate the anus of L.R., and such depiction was produced using materials that had been

mailed, shipped, or transported in interstate and foreign commerce, i.e., a cell phone.

In violation of Title 18, United States Code, Section 225l(a) and punishable under Title 18,

United States Code, Section 2251 (e).

                                          COUNT FOUR

The Grand Jury further charges that:

        1.     The allegations contained in paragraphs one, two, and three of Count I of this

Indictment are incorporated by reference as if fully set forth herein.

        2.     Between on or about January 1, 2019, and on or about July 26, 2019, in the Eastern

District of Missouri, and elsewhere,

                                       ANTHONY LEMICY,

the Defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce minor,

L.R., to engage in sexually explicit conduct, specifically, Anthony Lemicy produced a video of

L.R. in a lascivious display of her genitals, and said sexually explicit conduct was for the

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purpose of producing a visual depiction of such conduct, to wit: a video of LR.in a lascivious

display of her genitals, and such depictions were produced using materials that had been mailed,

shipped, or transported in interstate and foreign commerce, i.e., a cell phone.

In violation of Title 18, United States Code, Section 2251 (a) and punishable under Title 18,

United States Code, Section 2251 ( e).



                                                      A TRUE BILL.




                                                      FOREPERSON

SAYLER FLEMING
United States Attorney



COLLEEN C. LANG, #56872MO
Assistant United States Attorney




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